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THE UNITED STATES DISTRICT COURT

MIDDLE DISTRICT OF PENNSYLVANIA FIED
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DAVID J. CATANZARO, DEPUTY CLERK
286 Upper Powderly Street |
Carbondale, Pennsylvania 18407 CaseNo. 4° 2Z2en VIS
Plaintiff, Judge WN con MATA

Magistrate Judge —_

VS.

WALMART STORES, INC.,
MAYA GROUP INC.;
and DOES 1 THROUGH 50

JURY TRIAL DEMANDED
Defendant. .

PLAINTIFF’S VERIFIED COMPLAINT FOR PATENT INFRINGEMENT

Plaintiff, David J. Catanzaro (‘‘Plaintiff” or “Mr. Catanzaro”), complains of Walmart Stores

Inc. (“Walmart”) and Maya Group Inc. (“Maya Group”), as follows:
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I. JURISDICTION.

1. This is a claim for patent infringement under the patent laws of the United
States, Title 35 of the United States Code. This Court and other federal district courts have
exclusive jurisdiction over the subject matter of this case under 28 U.S.C.§ 1338(a).

I. VENUE.

2. Venue in this judicial district is proper under 28 U.S.C. §1391(b) and (c) in
that this is the judicial district in which a substantial part of the acts and omissions giving
rise to the claims occurred. Further, venue is proper as to each defendant under 28 U.S.C.
§1400(b).

HI. PARTIES.

3. Plaintiff currently resides at 286 Upper Powderly Street, Carbondale,
Pennsylvania 18407. Plaintiff is the owner of United States Patent No. 7,653,959 B1 (the
““959 patent”), entitled “Article Assembly,” that issued on February 2, 2010 and expired on
December 30, 2016. Under section 286 of the patent act, Plaintiff has the sole right to a six
year look back to sue for infringement of said patent, allowing Plantiff from the day of this
filing up to December 30, 2022 to make a valid claim. A copy of the ‘959 patent is
attached hereto as Exhibit A.

4. Upon information and belief, Walmart is a Arkansas company with its
principal place of business at 702 SW 8" Street, Bentonville, AR 72712

5. Upon information and belief, Maya Group is a California company with its
principal place of business at 19823 Hamilton Ave. Torrance, CA 90502
6. Plaintiff does not know the true identities of fictitious Defendants Does 1

through 50, but reserves the right to amend the complaint to add said defendants upon
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discovery of their identities

7, This court has personal jurisdiction over the named Defendant.

IV. RELEVANT MATTER

8. The “959 patent is a continuation of U.S. Patent No. 6,026,532 (the “532
patent”) which was assigned to the Church & Dwight Co. on February 28, 2011, as part of
a settlement agreement during a patent infringement lawsuit ( David Catanzaro v. Procter
& Gamble Co. et al.)

9. The ‘959 patent contained a Terminal Disclaimer whereby the Disclaimer
stated that joint ownership of the ‘532 and ‘959 patent was required for the ‘959 patent to
be enforceable.

10. Church & Dwight assigned the ‘532 patent back to Plaintif on August 31,
2016 (The Assignment effective date). The Assignment is attached hereto as Exhibit B

11. Plaintiff has full legal right to commence this matter

V. CLAIMS.

COUNT I- DECLARATORY JUDGMENT

12. Plaintiff incorporates by reference the allegations contained in paragraphs 1
through 11, inclusive.

13. An actual, present and justiciable controversy has arisen between Plaintiff
and Defendant’s regarding the ‘959 patent.

14. Pursuant to 28 U.S.C. §§ 2201, et seq., Plaintiff seeks declaratory judgment

from this Court that Defendant has infringed upon the ‘959 patent.
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COUNT VI- PATENT INFRINGEMENT

15. Defendants transacts business in this judicial district related to the ‘959
patent, without a license or permission from plaintiff. Defendants have infringed, induced
others to infringe, and/or contributorily infringed, literally or under the doctrine of
equivalents, one or more claims of the ‘959 patent. Defendants did so by. manufacturing,
having manufactured, importing, using, offering for sale and/or selling products that
embody and/or practice the patented invention, known as “Orbeez Crush Cruskins Pets”
along with other similar assorted product lines sold throughout the enforcement term on the

“959 patent.

16. Defendants transacts business in this judicial district and has
committed acts of infringement in this judicial district by offering for sale and selling the
Orbeez Crush Cruskins Pets product along with other similar assorted product lines after
February 2, 2010.

17. Plaintiff seeks damages for patent infringement against defendants for the
maximum period of time permitted by law.

18. Defendants has directly infringed claims 1, 4, 5 & 8 of the ‘959 patent in
violation of 35 U.S.C. § 271(a). Upon information and belief, Defendant has also infringed
claims 1, 4,5 & 8 of the ‘959 patent by knowingly and actively inducing others to infringe
in violation of 35 U.S.C. § 271(b).

19. Upon information and belief, Defendants infringement of the ‘959 patent have

been willful and deliberate. Defendants infringement has injured plaintiff.
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VIL PRAYER FOR RELIEF.

WHEREFORE, Plaintiff, David J. Catanzaro, respectfully requests that this Court
enter Judgment against Defendants and against their subsidiaries, successors, parents,
affiliates, directors, agents, servants, employees, and all persons in active concert or
participation with them, granting the following relief:

A. Issue a declaratory judgment stating that Defendant has infringed the ‘959

patent;

B. Order an award of damages adequate to compensate Plaintiff for the
infringement that has occurred, but in no event less than a reasonable
royalty as permitted by 35 U.S.C. § 284, together with pre-judgment and
post-judgment interest;

C. Issue a finding that Defendants acts of infringement have been willful and

ordering an award of increased damages as provided by 35 U.S.C. § 284;
D. Order Defendants to pay plaintiffs reasonable attorney fees and costs of
this action; and,
E, Order such. other relief that Plaintiff is entitled to under law and any other
further relief that this Court-or jury may deem just and proper.
VII. JURY DEMAND

Plaintiff hereby demands a trial by jury on all issues presented in this complaint.
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Respectfully submitted,

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David J. Catanzaro

Plaintiff pro se

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